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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CAROL HERRING,                                   :
    Plaintiff,                                   :
                                                 :
      v.                                         :      CIVIL ACTION
                                                 :      NO. 2:24-cv-06847-JLS
PHH MORTGAGE COMPANY,                            :
     Defendant.                                  :

                                         ORDER

      AND NOW, this 7th day of March, 2025, upon consideration of Plaintiff Carol Herring’s

pro se Complaint (ECF No. 2) it is ORDERED that:

      1.     The Complaint is DISMISSED WITH PREJUDICE for the reasons set forth in

the Court’s Memorandum.

      2.     The Clerk of Court is DIRECTED to CLOSE this case.

                                         BY THE COURT:



                                         /s/ Jeffrey L. Schmehl
                                         JEFFREY L. SCHMEHL
